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                                       UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF MARYLAND


 LESTER LEE,

            PLAINTIFF

 v.
                                                                     Case No. 8:24-cv-01205-TJS
 BROOKSIDE PARK CONDOMINIUM,
 INC., METROPOLIS (aka MCM, INC.),
 RAMMY AZOULAY AND LAMONT
 SAVOY

            DEFENDANTS



                                                        ORDER


                     Upon consideration of the Plaintiffs Motion to Strike Defendants Second and

Fourth Affirmative Defenses, the opposition thereto, and being otherwise duly advised in the

premises, it is this _______ day of ________, 2024;

          ORDERED that Plaintiffs Motion to Strike Defendants Second and Fourth Affirmative

Defenses is Denied.



                                                         ______________________________
                                                           U.S. Magistrate Judge

Cc: All COR




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